Case 2:19-cv-10661-WBV-MBN Document 1-1 Filed 05/23/19 Page 1 of 23

Page 4 of 10

 

CAMERON GAMBLE CIVIL DOCKET woQO (FQ) [ WD

VERSUS

RENAISSANCE GROUP;
RENAISSANCE GROUP, INC.;
RENAISSANCE, INC.;
CHARLIE LUSCO;

JONAS ROBERTSON;

PETER TRAIGLE;

LANE FRANKS; and
RICHARD HOFFMAN;

2157 JUDICIAL DISTRICT COURT

TANGIPAHOA PARISH, LOUISIANA

PETITION FOR DAMAGES AND TO
INSPECT PARTNERSHIP/CORPORATE RECORDS

 

Plaintiff, Cameron Gamble (Gamble), files this Original Petition against

 

defendants, Renaissance Group; Renaissance Group, Inc.; Renaissance, Inc.; Charlie
Lusco; Jonas Robertson; Peter Traigle; Lane Franks and Richard Hoffman (collectively
“Defendants”) and in support thereof respectfully show the Court as follows:
PARTIES
1.
The parties in this matter are:
a. Plaintiff is a resident of Wilmington, North Carolina.

b. Renaissance Group is a Louisiana Partnership who may be served with
process through Jonas Robertson at 2301 Par 3 Drive, Harvey; Louisiana
70058; .

c. Renaissance Group, Itic., a corporation and/or-parthership who ) fransacts
business in the State of Louisiana, who may be served wih prdcess by
serving its director, Jonas Robertson at 2301 Par 3 Drive, Haryoy, Eoujsjana
70058; a kee

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a PAA

d. Renaissance, Inc, is a foreign corporation who transacts business in TheSfate
of Louisiana who may be served with process by serving its dligeugf slots
Robertson, at 2301 Par 3 Drive, Harvey, Louisiana 70058 m . =

. Oe

e. Charlie Lusco, a person of the full age of majority and a citizen of the State

of Louisiana who may be served at 1820 L&A Road, Metairie, Louisiana

 

      
 
 

 

70001;
jori iciliary of
: Jonas Robertson, a person of the full age of majority and a domict!
ae : ‘ Jefferson Parish, Louisiana and Chairman of the Bo (COB) of
Raa tee HA Renaissance Group, Inc., who may be served at 2301 Par 3 Drive, Harvey,
Co

Louisiana 70058;

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Post Ganca Duoeta 1767
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EXHIBIT

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Case 2:19-cv-10661-WBV-MBN Document 1-1 Filed 05/23/19 Page 2 of 23

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g. Peter Traigle, a person of the full age of majority and a citizen of the State
of Louisiana who may be served at 111 Doctor Bowen Street, Belle Chase,
Louisiana 70037;

h. Lane Franks, a person of the full age of majority and a resident of Phoenix,
Arizona who may be served through the Long Arm Statute at 10851 North
Black Canyon Highway, Suite 540, Phoenix, Arizona 85029;

Richard Hoffman, a person of the full age of majority who may be served
at 1941 E. Crocus Dr., Phoenix, Arizona 85022-4513

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.

who are justly and truly indebted unto your petitioner for such amount as is reasonable in
the premises, together with legal interest thereon from date of judicial demand until paid,
and for all costs of these proceedings for the following reasons, to-wit:
VENUE AND JURISDICTION
2,
Venue is proper because defendants, Renaissance Group; Renaissance Group, Inc.
and Renaissance, Inc. all conduct business at their headquarters located at 42235
Happywoods Road, Hammond, Louisiana. This Court has both personal and general
jurisdiction. The causes of actions asserted herein arise out of transactions and decisions
made in the State of Louisiana. Defendants have a corporate headquarters located at 42235
Happywoods Road, Hammond, Louisiana and conduct business in Louisiana from this
location through its employees. Directors and employees of defendants have contacts with
Louisiana that are continuous and systematic.
FACTS
3.
Plaintiff first became familiar with defendants in the fall of 2017. Plaintiff is a
former member of the United States Military with extensive training in security procedures.
In the fall of 2017, plaintiff did a security assessment for defendants on mining concessions
in Liberia.
4

Defendants were pleased with the security assessment done by plaintiff and asked

 

plaintiff if he had any background in the timber industry since defendants had a number of

324 Wert Lawuat Stare
PorOmaniwensin? || timber concessions in Liberia. Plaintiff informed defendants that he and his extended
Ortousas LA 70571-1987
337-948-4488 . . . . . .
Aunamenassr-rsvaco|| family had extensive experience in the timber industry for many years.

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5.
Upon learning that plaintiff had extensive experience in the timber industry,
defendants hired plaintiff to find buyers for the Liberian timber concessions, At
defendants’ request, plaintiff prepared a cost analysis for logging operations in Liberia.

6.
In addition to doing the cost analysis, plaintiff performed other important work for
defendants. Plaintiff: .
a. Brought timber concessions to important companies and obtained necessary

certifications, He researched the world markets for different types of timber.

He secured buyers for timber in the European and South Asian markets,

b. Met with shipping companies to determine pricing, scheduling and routes of
shipments,

c. Plaintiff established relationships to unionize all Liberian workers to comply
with international labor laws.

d. Plaintiff determined the necessary equipment for timber operations and road
building.

&. Plaintiff secured experienced mill workers to train potential Liberian mill
workers to establish and operate a proposed sawmill.

7.
On December 7, 2017, plaintiff proposed that he be made a long-term partner and
owners with defendants. In exchange for a full ownership interest with the defendant
entities, plaintiff proposed being the boots on the ground and the Director of Operations in
Liberia.

8.

 

Defendants, Charlie Lusco, Jonas Robertson, Peter Traigle, Lane Franks and
Richard Hoffman, are partners in Renaissance Group and are directors, officers and
shareholders in Renaissance Group, Inc. and Renaissance, Inc.

9.
On December 18, 2017, defendants agreed to make plaintiff a full partner and equity

he owner in the defendant entities. Defendants filed Articles of Incorporation in Liberia
RYAN EASSETT Rea
sWirtwon tr {| sting plaintiff as an equity owner. Based on these agreements, plaintiff undertook efforts
Pest Ornca Davoren 1787
oa to make defendants’ operations in Liberia both profitable and successful. As a result of
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toll free 100-995-6776 3
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Case 2:19-cv-10661-WBV-MBN Document 1-1 Filed 05/23/19 Page 4 of 23

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Page 4 of 10

lwork done by plaintiff, defendants’ operations have been brought to a position of
profitability.

10.
Since fulfilling his commitment to become an equity owner in defendants’ entities,
defendants have taken actions to deprive plaintiff of his rights as a partner and/or
shareholder in these entities. Defendants have informed plaintiff that he is not a partner
and/or shareholder in any of the defendant entities. Defendants have refused to provide
partnership records and corporate records to plaintiff. Defendants have denied that a
partnership ever existed despite documents exchanged by the parties to the contrary.

CAUSES OF ACTION

 

THE ACTIONS OF DEFENDANTS ARE IN
VIOLATION OF LOUISIANA PARTNERSHIP LAWS

il.

Defendants are liable for the following acts and/or omissions by defendants:

a. Wrongfully terminating plaintiff's ownership interest in the partnership and
re-allocating plaintiff's ownership interest to themselves;

b.  Breaching their fiduciary duties by failing to act fairly and in utmost good
faith in their dealings with plaintiff, including attempting to shutout plaintiff
from the Renaissance business operations. This conduct also violates
defendants’ fiduciary duties to plaintiff, including the duty of good faith, fair
dealing and refraining from self-dealing;

 

Cc. Wrongfully denying the existence of a partnership; and

d. Failing to permit plaintiff to inspect the partnership books and records of the
partnership,

12.
Plaintiff is entitled to the fair value of his interest in the parmership due to the

wrongful termination of his ownership interest by defendants.

THE ACTIONS OF DEFENDANTS ARE IN
VIOLATION OF APPLICABLE LAW ON CORPORATIONS

iM 13.

 

 

MORROW,

TAN BASSETT 6 RHAIK Defendants are liable for the following acts or omissions:

324 Wor Lawes Sritt . .

Past Orcs Ducera (707 a. Wrongfully terminating plaintiff's owncrship interest in defendants’
eae corporate entities and re-allocating plaintiff's ownership interest to
Anaupvise 337-754-5600 themselves;

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fax 337-342-524

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Case 2:19-cv-10661-WBV-MBN Document 1-1 Filed 05/23/19 Page 5 of 23

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b. Breach of fiduciary duties including the duty of good faith, fair dealing and
to refrain from self-dealing;

c. The breach of fiduciary duties by the defendant directors, officers and
shareholders has resulted in direct damages to plaintiff and not the
corporation;

d. The breach of fiduciary duties by the defendants caused a direct material
adverse impact on plaintiff and not the corporation and shareholders;

e. Wrongful termination of plaintiff's employment;

f. Denial of access to information;

g. Refusal to pay plaintiff's proportionate share of corporate profits.
14,

Plaintiff is entitled to the fair value of his ownership interest in the defendant

 

corporate entities due to the wrongful termination of his interest by defendants.
15.

Alternatively and only in the event that it is found that defendants did not wrongfully
terminate plaintiff's interest in the defendant corporate entities, then plaintiff hereby
withdraws from the defendant corporate entities on the ground of oppression. The acts of
oppression are set forth above. Additionally, defendants have wrongfully and maliciously
accused plaintiff of embezzlement and misuse of company funds.

16.
As a withdrawing shareholder, plaintiff is entitled to the fair value of his interests in
the defendant corporate entities due to the forced withdrawal caused by the oppressive

actions of defendants.

LOUISIANA UNFAIR TRADE PRACTICES ACT
AND UNJUST ENRICHMENT

 

17,
The egregious acts described above also render the defendants liable for violations

of the Louisiana Unfair Trade Practices Act (LUTPA) and unjust enrichment,

iM 18,

BRAN BAST T Reta inti ish and d th j
foes Plaintiff further seeks damages for mental anguish and damages that are just an

326 Wert Laxnar Stacet
Perr Orca Daswsa 1787 reasonable in the premises; penalties and attorneys fees; tegal interest for all sums fro
Qrntoutas LA 20571-2987
397-948-4489

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Case Number: 2019-0001190 Transaction Date: 4/17/2019 Seq: 51 Page Sequence: 5

 

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Case 2:19-cv-10661-WBV-MBN Document 1-1 Filed 05/23/19 Page 6 of 23

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Page 6 of 10

date of judicial demand until paid in full; all costs of these proceedings; and any other relief
to which plaintiff may be entitled.
19.

Plaintiff is entitled to and hereby requests trial by jury.

WHEREFORE, PLAINTIFF, CAMERON GAMBLE, PRAYS:

I. That the defendants, Renaissance Group, Renaissance Group, Inc.,
Renaissance, Inc., Charlie Lusco, Jonas Robertson, Peter Traigle, Lane Franks and
Richard Hoffman, be served with a copy of this petition and duly cited to answer same,
and that after all legal delays and duc proceedings had, there be judgment herein in favor
of plaintiff, Cameron Gamble, and against the defendants, Renaissance Group,
Renaissance Group, Inc., Renaissance, Inc., Charlie Lusco, Jonas Robertson, Peter
Traigle, Lane Franks and Richard Hoffman, for damages that are reasonable in the
premises, together with legal interest from date of judicial demand, all penalties and
attomcy fees as provided by law, as well as all costs of these proceedings. .

2. For any and all general and equitable relief that may be afforded by this
Honorable Court and the laws of the State of Louisiana.

3. For trial by jury.

RESPECTFULLY SUBMITTED:
MORKOW;MORROY, RYAN, BASSETT & HAIK
JAMES P. RYAPl (#11560)

P. CRAIG MORROW (#23536)

Post Office Drawer 1787

Opelousas, LA 70571-1787

Telephone: (337) 948-4483

Fax: (337) 942-5234

craigm@mmrblaw.com
james rblaw.co

ANDERSON, BOUTWELL, TRAYLOR
J. THOMAS ANDERSON (#2464)

607 W. Morris Avenue

Hammond, LA 70403

Telephone: (985) 796-2245

 

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se Number: 2019-0001190 Transaction Date: 4/17/2019 Seq: 51 Page Sequence: 8

:19-cv-10661-WBV-MBN

 
 

OV. CLERK

CAMERON GAMBLE civit DocKET NO. 2OL4

VERSUS

RENAISSANCE GROUP;
RENAISSANCE GROUP, INC.;
RENAISSANCE, INC;
CHARLIE LUSCO;

JONAS ROBERTSON;

PETER TRAIGLE;

LANE FRANKS; and
RICHARD HOFFMAN;

215T JUDICIAL DISTRICT COURT

TANGIPAHOA PARISH, LOUISIANA

 

REQUEST FOR NOTICE OF DATE OF TRIAL, ETC.

 

TO THE CLERK OF COURT of the Twenty-First (21") Judicial District Court in
and for the Parish of Tangipahoa, Louisiana;
PLEASE TAKE NOTICE that MORROW, MORROW, RYAN, BASSETT &
HAIK, Attorneys for Plaintiff, do hereby request written notice of the date of trial of the

above matter, as well as notice of hearings (whether on merits or otherwise), ordcrs,

 

judgments and interlocutory decrees, and any and all formal steps taken by the parties

herein, the Judge or any member of Court, as provided in Louisiana Code of Civil

Procedure, of 1960, particularly Articles 1572, 1913 and 1914.

 

RESPECTFULLY SUBMITTED: -
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MORROW, OW, RYAN, BASSETT & BATIK?
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— ors
— PAD

JAMES P. RYXN (#11560) MPN

P, CRAIG MGRROW (#23536) R

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Document 1-1 Filed 05/23/19 Page 7 of 23
Case 2:19-cv-10661-WBV-MBN Document 1-1 Filed 05/23/19 Page 8 of 23

 

 

 

Page 9 of 10
EDWARDS & STEVENS
BRADLEY A. STEVENS (#30076)
Post Office Box 974
Amite, LA 70422
Telephone: (985) 747-1088
Fax: (985-747-1086
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Case 2:19-cv-10661-WBV-MBN Document 1-1 Filed 05/23/19 Page 9 of 23

Page 10 of 10

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Witam L. Ryan toll free 800-356-6776
fax 337-942-5234
Ructann T. Hasx, Se., o7 Counsen April 16, 2019 www
Former Fepprat AND STatT2 JUDGE P ; /MMRBHLAW.COM
Via Federal Express
8113 0550 2197

Bradley A. Stevens

Edwards & Stevens Law Firm
P. O. Box 974

Amite, LA 70422

RE: Cameron Gamble

Dear Brad:

I have enclosed the documents for filing in the Cameron Gamble matter, as follows:

1. Petition for Damages and to Inspect Partnership/Corporate Records to

be filed, along with service copies; y

S
—
Ss no
2. Discovery to each defendant to be served with the Petition; 3 Sia
—_

3. Appropriate checks for filing/service;

onl
4. Extra copy of the Petition and Discovery to be filed stamped ae: *
returned to me. 2,

Should you have any questions or concerns, please do not hesitate to contact me.

Thanking you and with kind regards, we are

Sincerely yours,
MORKOW W, RYAN, BASSETT & HAIK
P. Craig M
PCM:kn
Enclosure

Case Number: 2019-0001190 Transaction Date: 4/17/2019 Seq: 51 Page Sequence: 10

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Case 2:19-cv-10661-WBV-MBN

Document 1-1

Filed 05/23/19 Page 10 of 23

 

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CITATION

CAMERON GAMBLE

Versus

RENAISSANCE GROUP, ET AL

 

Case: 2019-0001190
Division: D

21" Judicial District Court
Parish of Tangipahoa
State of Louisiana

 

To; RENAISSANCE GROUP

THRU JONAS ROBERTSON
2301 PAR 3 DRIVE
HARVEY, LA 70058

Parish of JEFFERSON

days after the service hereof, under penalty of default.

2019.

Pleading Serveel

 

 

day of _
20 -

Received onthe _

 

Personal Service on the party hereinnamed ____

handsof

 

said service.

DUE & DILIGENT UNABLE TO SERVE BECAUSE: _

 

 

YOU ARE HEREBY SUMMONED to comply with the demand contained in the Petition of which a true and
correct copy accompanies this citation, or make an appearance either by filing a pleading or otherwise, in the
Twenty-First Judicial District Court in and for the Parish ef Tangipahoa, State of Louisiana within fifleen (15)

This service was ordered by attorney P CRAIG MORROW and was issued by the Clerk of Court on April 17,

PETITION FOR DAMAGES AND/RO INSPECT PARTNERSHIP/CORPORATE RECORDS/PLATINTIFF'S
FIRST SET OF WRITTEN DISCOVERY TO DEFENDANT RENAISSANCE GROUP

Service Information

,20___ andon the _

served the above named party as follows:

Domiciliary Service on the party herein named by leaving the same at his/her domicile in the parish in the

_ _, @ person apparently over the age of seventeen
years, living and residing in said domicile and whose name and other facts connected with this service, |
learned by interrogating the said person, said party herein being absent from his/her residence at the time of

Returned:
Parish of — ee this
Service £
By:
Mileage S$ Deputy Sheriff’
Total se
FOOTERAREA

 

VFB

Lanse Oatle,

Deputy Clerk of Court for
Gary T. Stanga, Clerk of Court

day of

___dayof__

 
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Page 2 fas sd Wa ae a a a eee ry

 

 

 

: CITATION ‘
: —
i CAMERON GAMBLE Case: 2019-0001190 ‘
5 pv Division: D f
CS: 2)" Judicial District Court \
' Parish of Tangipatoa ‘
1 RENAISSANCE GROUP, ET AL State of Louisiana 4
‘ i
‘ VFB :
* 79: RENAISSANCE GROUP OUTSIDE PARISH
THRU JONAS ROBERTSON Amt. Paid for Service  3).00 :
2301 PAR 3 DRIVE Jefferson Parish Sheriff's Offi ;
: HARVEY, LA 70058 son Paris eriff's Office ‘
; ;
i Parish of JEFFERSON 5
a ’
4 s .
: YOU ARE HEREBY SUMMONED to comply with the demand contained in the Petition of which a true and +
» correct copy accompanies this citation, or make an appearance either by filing a pleading or otherwise, in the t
Twenty-First Judicial District Court in and for the Parish of Tangipahoa, State of Louisiana within ffieen (15) *
days afler the service hereof, under penalty of default. :
This service was ordered by attorney P CRAIG MORROW and was issued by the Clerk of Court on April 17, '
+ 2019. .
+ Pleading Served ‘
‘PETITION FOR DAMAGES AND/RO INSPECT PARTNERSHIP/CORPORATE REC ORDS/PLATINTIFF'S a
: FIRST SET OF WRITTEN DISCOVERY TO DEFENDANT RENAISSANCE GROUP :
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: Deputy Clerk of Court fore = S23 -= 3
Gary T. Stanga, Clerk of Coprt 3 Ss
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‘ Service Information oo 3 ‘
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‘ Received on the _ day of __ APR 23 2019 20 and on the day of ‘
fo APR 23 Ui, 20 served the above named party as follows: ;
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‘Domiciliary Service on the party herein named by leaving the same at his/her domicile in the parish in the ;
«hands of . __, @ person apparently over the age of seventeen ‘
+ years, living and residing in said domicile and whose name and other facts connected with this service, ! 4
' ‘Jearned by interrogating the said person, said party herein being absent from his/her residence at the time of :
+ said service. :
: DUE & DILIGENT UNABLE TO SERVE BECAUSE: ;
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Case 2:19-cv-10661-WBV-MBN Document 1-1 Filed 05/23/19 Page 12 of 23

 

 

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CITATION
CAMERON GAMBLE Case: 20190001190
Division: D
Versus

21" Judicial District Court
Parish of Tangipahoa

RENAISSANCE GROUP, ET AL State of Louisiana

 

 

Ta: RENAISSANCE GROUP INC
THRU JONAS ROBERTSON
230] PAR 3 DRIVE
HARVEY, LA 70058

Parish of JEFFERSON

YOU ARE HEREBY SUMMONED (to comply with the demand contained in the Petition of which a true and
correct copy accompanies this citation, or make an appearance either by filing a pleading or otherwise, in the
Twenty-First Judicial District Court in and for the Parish of Tangipahoa, State of Louisiana within fifteen (15)
days after the service hereof, under penalty of default.

This service was ordered by attorney P CRAIG MORROW and was issued by the Clerk of Court on April 17,
2019.

Pleading Served

PETITION FOR DAMAGES AND/RO INSPECT PARTNERSHIP/CORPORATE RECORDS/PLATINTIFF'S
FIRST SET OF WRITTEN DISCOVERY TO DEFENDANT RENAISSANCE GROUP INC

, L:
Lian eailey

Deputy Clerk of Court for
Gary T. Stanga, Clerk ef Court

Service Information

Received on the __ day of _ : __,20____andonthe_ day of
_, 20____ served the above named party as follows:

 

Personal Service on the party herein named _ = ee
Domiciliary Service on the party herein named by leaving the same at his‘her domicile in the parish in the
hands of. a ___, a person apparently over the age of seventeen
years, living and residing in said domicile and whose name and other facts connected with this service, |
learned by interrogating the said person, said party herein being absent from his/her residence at the time of
said service.

DUE & DILIGENT UNABLE TO SERVE BECAUSE: __

Returned:
Parish of __ this _ day of ee , 20
Serviée $$.

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Mileage $_ == Deputy Sheriff

Total $

FOOTERAREA

 

 

 
Case 2:19-cv-10661-WBV-MBN Document 1-1 Filed 05/23/19 Page 13 of 23

 

CAMERON GAMALE Case: 2079-0001 190

Division: D

2!" Judicial District Court
Parish of Tangipahoa
State of Louisiana

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Persts

RENAISSANCE GROUP, ET AL

 

 

VFB:

To: RENAISSANCE GROUP INC *
THRU JONAS ROBERTSON OUTSIDE PARISH ‘

230) PAR 3 DRIVE Amt. Paid for Service § BO pe b

HARVEY, LA 70038 Jefferson Parish Sheriff's Office

Parish of JEFFERSON

YOU ARE HEREBY SUMMONED 10 comply with the demand contained in the Petition of which a true and
‘correct copy accompanies this citation, or make an appearance either by filing a pleading or otherwise, in the

+ Twenty-First Judicial District Court in and for the Parish of Tangipahoa, State af Louisiana within fifteen (15)
days after the service hereof, under penalty of default.

wR Ree

This service was ordered by attorney P CRAIG MORROW and was issued by the Clerk of Court an April 17,
2079.

Pleading Served :

. PETITION FOR DAMAGES AND/RO INSPECT PARTNERSHIP/CORPORATE RECORDS/PLATINTIFE'S
| FIRST SET OF WRITTEN DISCOVERY TO DEFENDANT RENAISSANCE GROUP INC

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Deputy Clerk of Court for 3

Gary T. Stanga, Clerk of Comer

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Service Information o & =
Received on the __ day of APR 23 2019, 20 and on the day of
b APR 2319 20 served the above named parly as follows: :
: Personal Service on the party herein named __omMAS __ ConEwT 30 J ;
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* Domiciliary Service on the party herein named by leaving the same at his/her domicile in the parish in the
"hands of , aperson apparently over the age of seventeen ,
years, living and residing in said domicile and whose name and other facts connected with this service, | t
learned by interrogating the said person, said party herein being absent from his/her residence at the lime of 4
said service.
DUE & DILIGENT UNABLE TO SERVE BECAUSE: '
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i Parishof____Jeererse,) this dayof_ ang 20 , i
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By: ae rt eA
Mileage $ Deputy Sheriff

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Case 2:19-cv-10661-WBV-MBN Document 1-1 Filed 05/23/19 Page 14 of 23

 

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CITATION

CAMERON GAMBLE Case: 2019-0001190

Division: D

21" Judicial District Court
Parish of Tangipahoa
State of Louisiana

Versus

RENAISSANCE GROUP, ET AL

 

 

VFB
To: RENAISSANCE INC
THRU JONAS ROBERTSON
230) PAR 3 DRIVE
HARVEY, LA 70058

Parish of JEFFERSON

YOU ARE ITEREBY SUMMONED to comply with the demand contained in the Petition of which a true and
correct copy accompanies this citation, or make an appearance either by filing a pleading or otherwise, in the
Twenty-First Judicial Distriet Court in and for the Parish of Tangipahoa, State of Louisiana within fifteen (15)
days after the service hereof, under penalty of default,

This service was ordered by attorney P CRAIG MORROW and was issued by the Clerk of Court on April 17,
2019.

Pleading Served

PETITION FOR DAMAGES AND/RO INSPECT PARTNERSHIP/CORPORATE RECORDS/PLATINTIFF'S
FIRST SET OF WRITTEN DISCOVERY TO DEFENDANT RENAISSANCE INC

f / ‘
ante baile,
Deputy Clerk of Court for
Gary T. Stanga, Clerk of Court

Service Information

Recetved on the day of _ ee , 20 andon the —__ day of
,20 __ served the above named party as follows:

Personal Service on the party herein named __ — _
Domiciliary Service on the party herein named by leaving the same at his/her domicile in the parish in the
hands of —__ ee , a person apparently over the age of seventeen
years, living and residing in said domicile and whose name and other facts connected with this service, [
learned by interrogating the said person, said party herein being absent from his/her residence at the time of
said service.

DUE & DILIGENT UNABLE TO SERVE BECAUSE:

 

Returned:
Parish of — this day of _ , 20

Service §

 

 

Bys
Mileage $ ee Deputy Sheriff
Total $ _
FOOTERAREA
oer ara eG Se, Number: 2.019-0001190 Transaction Nate: 4/17/2019 Seq, 33 Page Seauence; J

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Case 2:19-cv-10661-WBV-MBN Document 1-1 Filed 05/23/19 Page 15 of 23

 

   

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CITATION

 

CAMERON GAMBLE

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Case: 20/9-G00L190

= Versus Division; D :
7 21" Judicial District Court :
: Parish af Tang ’
+ RENAISSANCE GROUP, ET AL Sate ee ta “ ;
; ;
‘ :
: Te: RENAISSANCE INC eB
; To: RENAISSANCE 1 OUTSIDE PARISH '
t THRU JONAS ROBERTSON ; 0 :
2301 PAR 3 DRIVE Amt. Paid for Service S20: * ~
HARVEY, LA 76058 Jefferson Parish Sheriff's Office

: Parish of JEFFERSON ‘
YOU ARE HEREBY SUMMONED to comply with the demand contained in the Petition of which a true and

correct copy accompanies this citation, or make an appearance either by filing a pleading or otherwise, inthe 3
Twenty-First Judicial District Court in and for the Parish of Tangipahoa, State of Louisiana within fifteen (15)
days after the service hereof, under penalty of default. ‘

This service was ordered by attorney P CRAIG MORROW and was issued by the Clerk of Court on April 17,

 

 

 

 

 

 

 

2019. ;
_ Pleading Served

PETITION FOR DAMAGES AND/RO INSPECT PARTNERSHIP/ CORPORATE RECORDS/PLATINTIFF'S :

FIRST SET OF WRITTEN DISCOVERY TO DEFENDANT RENA ISSANCE INC ‘

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Deputy Clerk of Court for S
Gary T, Stanga, Clerk af Cow, 3 aa
wm pe :

SB As +
Service Information = co =3 :
: — S =3 :
: Received on the day of. APR 23 2019, 20 and on the day of? , ;
__? APR ZT U9, 20 served the above named party as follows: Qo :
: »n the party herein named ___ Joun's Roncest Sel
Domiciliary Service on the party herein named by leaving the same at his/her domicile in the parish in the

hands of , a person apparenily over the age of seventeen ‘

years, living and residing in said domicile and whose name and other facts connected with this service, | é

learned by interrogating the said person, said party herein being absent from his/her residence al the time of a

said service. ;
* DUE & DILIGENT UNABLE TO SERVE BECAUSE: '
. Returned:
\ Parish of _ SEF Faso this day of APR 23 2 20 .

Service § _

By: _ r>) lime 24

Mileage § Deputy Serth! ( S
» Total S$ _ EP A\D :
SCANNED |
MW [ ORIGINAL ]

a Case Number: 2019-0001 490 Transaction. Date-4(17/2019 Seq 132. Page Sequence:.1

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Case 2:19-cv-10661-WBV-MBN Document 1-1 Filed 05/23/19 Page 16 of 23

 

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CITATION

CAMERON GAMBLE Case: 2019-0001190

Division: D

21" Judicial District Court
Parish of Tangipahoa
State of Louisiana

Versus

RENAISSANCE GROUP, ET AL

 

 

VFB
To: CHARLIE. LUSCO
1820L&A ROAD
METAIRIE, LA 7000]

Parish of JEFFERSON

YOU ARE HEREBY SUMMONED to comply with the demand contained in the Petition of which a true and
correct copy accompanies this citation, or make an appearance either by filing a pleading or otherwise, in the
Twenty-First Judicial District Court in and for the Parish of Tangipahoa, State of Louisiana within fifteen (15)
days after the service hereof, under penalty of default.

This service was ordered by attorney P CRAIG MORROW and was issued by the Clerk of Court on April 17,
2019,

Pleading Served

PETITION FOR DAMAGES AND/RO INSPECT PARTNERSHIP/CORPORATE RECORDS/PLATINTIFF'S
FIRST SET OF WRITTEN DISCOVERY TO DEFENDANT CHARLIE LUSCO

(ane caste,

Deputy Clerk of Court for
Gary T. Stanga, Clerk of Court

Service Information

Received on the __ _dayof ,20____ and on the _ day of
, 20 __ served the above named party as follows:

Personal Service on the party herein named == se a :

Domiciliary Service on the party herein named by leaving the same at his/her domicile in the parish in the
hands of = ee _ a person apparently over the age of seventeen
years, living and residing in said domicile and whose name and other facts connected with this service, I
learned by interrogating the said person, said party herein being absent from his/her residence at the time of
said service.

 

DUE & DILIGENT UNABLE TO SERVE BECAUSE

 

 

Returned:
Parish of __ ee _ this day of __ _ »20_
Service §
By:
Mileage 3 Deputy Sheriff

Total 5.

FOOTERAREA
Case Number:.2019-0001190 Transaction Nate: 4/17/2019 Se0..29 Pages Seauence; Jt

 

 

 

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Case 2:19-cv-10661-WBV-MBN Document 1-1 Filed 05/23/19 Page 17 of 23

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CITATION

' CAMERON GAMBLE Case: 2
ase: 2019-0001190

 

 

: ese Division: D ;
: 21" Juiicial Distrter Court ;
: RENAISSANCE GROUP, ET AL caeuer :
;
‘To: CHARLIE LUSCO OUTSIDE PARISH ae
1820 L&A ROAD yo

; METAIRIE, LA 70001 Amt. Paid for Service $_,2

Jefferson Parish Sheriff's Office

Parish of JEFFERSON ;

YOU ARE HEREBY SUMMONED to comply with the demand contained in the Petition of which a true and
> correct copy accompanies this citation, or make an appearance either by filing a pleading or otherwise, in the

+ Twenty-First Judicial District Court in and for the Parish of Tangipahoa, State of Louisiana within fifteen (15).
days after the service hereof, under penalty of default,

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This service was ordered by attorney P CRAIG MORROW and was issued by the Clerk of Court on April 12,
2019.

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Pleading Served

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; PETITION FOR DAMAGES AND/RO INSPECT PARTNERSHIP/CORP ORATE RECORDS/PLATINTTEFS:
3 FIRST SET OF WRITTEN DISCOVERY TO DEFENDANT CHARLIE LUSCO iS SS at
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= 28
/ ‘ yO Gp
nt bails 4 *
eputy Clerk of Court for
Gary T. Stanga, Clerk of Court
| Service Information —* ~
‘Received on the day of , 20 and on the day of ,
_, 20 served the above named party as follows: :

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a ase ee

Personal Service on the party herein named __

—_—_

 

 

Domiciliary Service on the party herein named by leaving the same at his/her domicile in the parish in the

 

 

 

 

 

 

hands of __y @ person apparently over the age of seventeen ;
years, living and residing in said domicile and whose name and other facts connected with this service, I :
learned by interrogating the said person, said party herein being absent from his/her residence at the time of '
said service, i
_ DUE & DILIGENT UNABLE TO SERVE BECAUSE: 5 (it
Returned: 3
Parish of . this day of 20
Service §
By: sas
Mileage § ee Deputy Sheriff .
Total $ ‘
| :
: SCANNED
‘ MV [ ORIGINAL ]

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Case 2:19-cv-10661-WBV-MBN Document 1-1 Filed 05/23/19 Page 18 of 23

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_—_NOT AT THIS ADDRESS PEA «

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Case 2:19-cv-10661-WBV-MBN Document 1-1 Filed 05/23/19 Page 19 of 23

 

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Page 100118 « + tinea A a ae on ne ae ee a ee

CITATION

CAMERON GAMMLE

Case: 20/9-0001190
Division: D

21" Judicial District Court
Porish of Tangipatioa
Stite af Loulsiana

Versus

RENAISSANCE GROU?M, ET AL

 

aie

 

VFB
To: JONAS ROBERTSON OUTSIDE PARISH

230] PAR 3 DRIVE Amt. Paid for Service s 2p. JO

‘ vey

HARVEY, LA 70058 Jefferson Parish Sheriff's Office ‘

Parish of JEFFERSON ‘

YOU ARE HEREBY SUMMONED (0 comply with the demand contained in the Petition of which a (rue and
? correct copy accompanies this citation, or make an appearance either by filing a pleading or otherwise, in the
Twenty-First Judicial District Court in and for the Parish of Tangipahoa, State of Louisiana within fifieen (15)
days after the service hereof, under penalty of default.

This service was ordered by attorney P CRAIG MORROW and was issued by the Clerk of Court on April 17,

 

 

 

 

 

2019, :
Pleading Served
PETITION FOR DAMAGES AND/RO INSPECT PARTNERSHIP/CORPORATE RECORDS/PLATINTIFF'S
FIRST SET OF WRITTEN DISCOVERY TO DEFENDANT JONAS ROBERTSON = 33 \
3 5
Li (AL (OWL ae
Deputy Clerk of Court jor a & a ;
Gary T, Stanga, Clerk of Colirt ‘ aw ;
°
; Service Information - ;
» ubfesenatons he agg — 407 APR23 2019 29 andonthe__ day of
\ APR su 20____ served the above named party as follows:
é
Rersonal Seryiceon the party herein named Jouas gonue-Tso-} .
Domiciliary Service on the party herein named by leaving the same at his/her domicile in the parish in the .
hands of __, a@person apparently over the age of seventeen :
years, living and residing in said domicile and whose name and other facis connected with this service, | :
learned by interrogating the said person, said parly herein being absent from his/her residence al the time of t
| said service,
} DUE & DILIGENT UNABLE TO SERVE BECAUSE.
‘Returned:
Parish of __— GEFFERSD __ this —_ dayof_ APR 23 2019 pes
Service $
~ By: Tay OA
+ Mileage § Deputy Sheriff 0
Total S$ , ID ‘
SCANNED

Mw [ ORIGINAL } .
__..... Case Number:.2049-0001190. Transaction. Nate: 4/17/2019 Seq: 25 Page-Sequence:.4 .

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Case 2:19-cv-10661-WBV-MBN Document 1-1 Filed 05/23/19 Page 20 of 23

 

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CITATION

CAMERON GAMBLE Case: 2019-0001190

Division; D

21" Judicial District Court
Parish of Tangipahoa
State of Louisiana

Versus

RENAISSANCE GROUP, ET AL

 

 

VFB
To: PETER TRAIGLE
111 DOCTOR BOWEN STREET
BELLE CHASE, LA 70037

Parish of PLAQUEMINES

YOU ARE HEREBY SUMMONED to comply with the demand contained in the Petition of which a true and
correct copy accompanies this citation, or make an appearance either by filing a pleading or otherwise, in the
Twenty-First Judicial District Court in and for the Parish of Tangipahoa, State of Louisiana within fifteen (15)
days after the service hereof, under penalty of defauit.

This service was ordered by attorney P CRAIG MORROW and was issued by the Clerk of Court on April 17,
2019.

Pleading Served

PETITION FOR DAMAGES AND/RO INSPECT PARTNERSHIP/CORPORATE RECORDS/PLATINTIFE'S
FIRST SET OF WRITTEN DISCOVERY TO DEFENDANT PETER TRAIGLE

(ann iuile,

Deputy Clerk of Court for
Gary T. Stanga, Clerk of Court

 

Service Information

Received on the _ day of a _, 20 and on the _ _ day of
,20___ served the above named party as follows:

 

Personal Service on the party herein named _

Domiciliary Service on the party herein named by leaving the same at his/her domicile in the parish in the
hands of _____, @ person apparently over the age of seventeen
years, living and residing in said domicile and whose name and other facts connected with this service, I
learned by interrogating the said person, said party herein being absent from his/her residence at the time of :
said service.

DUE & DILIGENT UNABLE TO SERVE BECAUSE:

 

 

 

 

Returned:
Parish of _ _ this ss dayrof ey PO
Service 3.
Pe

Mileage 3__ Deputy Sheriff
Total $

FOOTERAREA

L_____---Gase Number;.2019-0001190 Transaction Date: 4IZ/2019.Se0i.22 PAIS SLOUensss Aaa

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Case 2:19-cv-10661-WBV-MBN Document 1-1 Filed 05/23/19 Page 21 of 23

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CITATION ~

‘ gfeeer ne
Cases 2019-0001190
Division: D .

21" Judicial District Court
Parish af Tangipahoa
State af Louisiana

1 CAMERON GAMBLE

Versus

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, RENAISSANCE GROUP, ET AL

 

 

VFB

 

Parish of PLAQUEMINES ‘

YOU ARE HEREBY SUMMONED (o comply with the demand contained in the Petition of which a true and
correct copy accompanies this citation, or make an appearance either by filing a pleading or otherwise, in the
Twenty-First Judicial District Court in and for the Parish of Tangipahoa, State of Louisiana within fifteen (15)
days afier the service hereof, under penalty of default,

i mee

This service was ordered by attorney P CRAIG MORROW and was issued by the Clerk of Court on April 17,
2019,

Pleading Served

PETITION FOR DAMAGES AND/RO INSPECT PARTNERSHIP/CORPORATE RECORDS/PLA TINTIFE'S ;
FIRST SET OF WRITTEN DISCOVERY TO DEFENDANT PETER TRAIGLE ; ‘

(ans. bailey

Depuly Clerk of Court for
Gary T. Stanga, Clerk of Court

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Service Jaformation

: Received on the day of , 20 and on the | ale
Z __, 20 served the above named party as follows:

 

  

Personal Service on the party herein named : \—
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Domiciliary Service on the party herein named by leaving the same at his/her domicile in the paxish in hed
hands of , a person apparently over the age of seventeen
years, living and residing in said domicile and whose name and other facts connected with this service, /

learned by interrogating the said person, said party herein being absent from his/her residence at the time of J
setid service.

DUE & DILIGENT UNABLE TO SERVE BECAUSE:

 

+ Returned:

 

 

 

  

 

Parish of ~ this. day of 20)
SCA ie 20190001190 Cont
Service 3 3 NNED eGR TRAIGLE
, My By: 4410R BOWEN ST
1 Mi : BC LA
f Mileage $ 42.2 2323 Person Served: fve cen ir cr "
Zee tO Received: 04/23/2019 Sarved: 04/26/2010 10.c000
— ATTEMPT FOR SERVICE Deputy; LEOST Miles: 0.00 Type: ¢

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‘asartemer -23~- /7 Hos” |

jwoartemer “24-0 F_ Ne at PREPAID

"13° ATTEMP 25-19 ov 3 :
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Case 2:19-cv-10661-WBV-MBN Document 1-1 Filed 05/23/19 Page 22 of 23

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CITATION — LONG ARM

CAMERON GAMBLE Case; 2019-0001190

Division: D

21" Judicial District Court
Parish of Tangipahoa
State of Louisiana

Versus

RENAISSANCE GROUP, ET AL

 

 

VFB
To: LANE FRANKS
THRU LOUISIANA LONG ARM STATUTE
10851 NORTH BLACK CANYON HIGHWAY, STE 540
PHOENIX, AZ 85029

Parish of

YOU ARE HEREBY SUMMONED to comply with the demand contained in the Petition of which a true and
correct copy accompanies this citation, or make an appearance either by filing a pleading or otherwise, in the
Twenty-first Judicial District Court in and for the Parish of Tangipahoa, State of Louisiana within 30 days after
the filing in the record of the affidavit of the individual attesting to the manner of delivery made through the
“Long Arm Statute” hereof, under penalty of default.

This service was ordered by attorney P CRAIG MORROW and was issued by the Clerk of Court on April 17,
2019.

2

Pleading Served
PETITION FOR DAMAGES AND TO INSPECT PARTNERSHIP/CORPORATE RECORDS/PLAINTIFF'S FIRST SET OF

WRITTEN DISCOVERY TO DEFENDANT, PETER TRAIGLE
(ant Castle,

Deputy Clerk of Court for
Gary T. Stanga, Clerk of Court

Service Information

Received on the _day of 20 and on the day of
,20__ served the above named party as follows:

Personal Service on the party herein named ee.
Domiciliary Service on the party herein named by leaving the same at his/her domicile in the parish in the
hands of an _, a person apparently over the age of seventeen
years, living and residing yn said domicile and whose name and other facts connected with this service, |
learned by interrogating the said person, said party herein being absent from his/her residence at the time of
said service.

DUE & DILIGENT UNABLE TO SERVE BECAUSE;

 

 

 

 

Returned:
Parish of _ _ this day of 20
Service — 3__
Bys a a
Mileage $ Deputy Sheriff
Total 5
FOOTERAREA

23
Case 2:19-cv-10661-WBV-MBN Document 1-1 Filed 05/23/19 Page 23 of 23

 

Sera oe

CITATION — LONG ARM

 

CAMERON GAMBLE Case: 2019-0001190

Division; D

21" Judicial Distriet Court
Parish of Tangipahoa
State of Louisiana

Versus

RENAISSANCE GROUP, ET AL

 

 

VFB
To: RICHARD HOFFMAN
THRU LOUISIANA LONG ARM STATUTE
1941 WCROCUS DR
PHOENIX, AZ 85022-4513

Parish of

YOU ARE HEREBY SUMMONED to comply with the demand contained in the Petition of which a true and
correct copy accompanies this citation, or make an appearance either by filing a pleading or otherwise, in the
Twenty-first Judicial District Court in and for the Parish of Tangipahoa, State of Louisiana within 30 days after
the filing in the record of the affidavit of the individual attesting to the manner of delivery made through the
“Long Arm Statute” hereof, under penalty of default,

This service was ordered by attorney P CRAIG MORROW’ and was issued by the Clerk of Court on April 17,
2019.

Pleading Served
PETITION FOR DAMAGES AND TO INSPECT PARTNERSHIP/CORPORATE RECORDS/PLAINTIFP'S FIRST SET OF

WRIUTEN DISCOVERY TO DEFENDANT, RICHARD HOFFMAN
(ne dalle
Us D)

Deputy Clerk of Court for
Gary T. Stanga, Clerk of Court

Service Information

Received on the day of .20-__ andon the day of
, 20 served the above named party as follows:

 

Personal Service on the party herein named _ 3

Domiciliary Service on the party herein named by leaving the same at his/her domicile in the parish in the
hands of ee , a person apparently over the age of seventeen
years, living and residing in said domicile and whose name and other facts connected with this service, 1
learned by interrogating the said person, said party herein being absent from his/her residence at the time of
said service.

 

DUE & DILIGENT UNABLE TO SERVE BECAUSE: -——— a

Returned: .
Parish of. = ee this dayof a
Service § _

By: =e
Mileage = 3. Deputy Shenff
Total $

FOOTERAREA

|______--Gase Numbsr:.2019:0001190 Transaction Rats: ST2019.Sen.17 Pace Seouensns Jd

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